                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEW MEXICO

 In re:                                                        Chapter 11

 ROMAN CATHOLIC CHURCH OF THE                                  Case No. 18-13027-t11
 ARCHDIOCESE OF SANTA FE, a New Mexico
 corporation sole,

                                  Debtor.


                     OBJECTION TO DEBTOR’S MOTION TO FILE
                 CONFIDENTIAL INSURANCE DOCUMENTS UNDER SEAL

                 The Official Committee of Unsecured Creditors (the “Committee”) of the Roman

Catholic Church of the Archdiocese of Santa Fe (the “Debtor” or “Diocese”), by and through its

undersigned counsel, hereby objects to the Debtor’s Motion to File Confidential Insurance

Documents Under Seal [Docket No. 924]. In support of its objection, the Committee

respectfully states as follows:

          1.     The Committee objects to the Motion on the basis that the Insurance Pleading (as

defined in the Motion) does not fall within a category of document that may be sealed pursuant

to 11 U.S.C. § 107(b). That statute only allows sealing documents that are either a confidential

business information or scandalous or defamatory.


          2.     As stated by one bankruptcy court in the Tenth Circuit:

                 Public access is a foundational attribute of the Federal
                 Judiciary. As a matter of federal common law, “the courts
                 of this country recognize a general right to inspect and copy
                 public records and documents, including judicial records
                 and documents.” Nixon v. Warner Commc’ns, Inc., 435
                 U.S. 589, 597, 98 S.Ct. 1306, 55 L.Ed.2d 570 (1978). The
                 right of public access is “rooted in the public’s First
                 Amendment right to know about the administration of
                 justice.” Video Software Dealers Ass’n v. Orion Pictures
                 Corp. (In re Orion Pictures Corp.), 21 F.3d 24, 26 (2d Cir.
                 1994); see also In re Inslaw, Inc., 51 B.R. 298, 299 (Bankr.


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                 D.C. 1985) (“Public access to judicial records is
                 ‘fundamental to a democratic state’”).

In re Petersen, 597 B.R. 434,437 (Bankr. D. Colo 2019).

        3.       Section 107(b) codifies well-established federal common law and provides a

statutory framework for bankruptcy courts to authorize documents to be filed under seal. The

statute provides as follows:

                 (b) On request of a party in interest, the bankruptcy court shall, and
                 on the bankruptcy court’s own motion, the bankruptcy court
                 may—

                 (1) protect an entity with respect to a trade secret or confidential
                 research, development, or commercial information; or

                 (2) protect a person with respect to scandalous or defamatory
                 matter contained in a paper filed in a case under this title.


        4.       “The statutory mandate of broad public access under Section 107 also is

supported by the procedural framework of Fed. R. Bankr. P. 9018 and 9037.” Peterson, 597

B.R. at 438; see also In re Anthracite Capital, Inc., 492 B.R. 162,171 (Bankr. S.D.N.Y. 2019).

Rule 9018 provides that

                 the court may make any order which justice requires (1) to protect
                 the estate or any entity in respect of a trade secret or other
                 confidential research, development, or commercial information, (2)
                 to protect an entity against scandalous or defamatory matter
                 contained in any paper filed in a case under the Code, or (3) to
                 protect governmental matters that are made confidential by statute
                 or regulation.”


        5.       Section 107(b) only applies to information falling within one of the categories

listed in the statute. See Petersen, supra (citing Video Software Dealers Ass’n v. Orion Pictures

Corp. (In re Orion Pictures Corp.), 21 F.3d 24, 27 (2nd Cir. 1994) (“if the information fits any

of the specified categories [of Section 107(b)], the court is required to protect a requesting



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interested party”); In re Global Crossing Ltd., 295 B.R. 720, 724 (Bankr. S.D.N.Y. 2003)

(“When the requirements of Rule 9018 are satisfied ....”; finding certain information was

protected because it was “commercial”)).

        6.       Limiting “the public's right to access remains an extraordinary measure that is

warranted only under rare circumstances as ‘public monitoring is an essential feature of

democratic control.’” Anthracite Capital, id., (quoting Geltzer v. Andersen Worldwide,

S.C., 2007 WL 273526, at *2-3, 2007 U.S. Dist. LEXIS 6794, at *7 (S.D.N.Y. Jan. 30,

2007))(internal citations omitted). Thus, a party seeking such extraordinary relief must provide

specific factual and legal authority demonstrating that a particular document is entitled to the

protections afforded by section 107. Id.

        7.       Neither the Settlement Agreements (as defined in the Motion) nor the Insurance

Pleading may be sealed pursuant to section 107(b). They are clearly not scandalous or

defamatory. Nor do they contain business, commercial or trade secrets. They are settlement

agreements entered into long before this chapter 11 case commenced. They are only confidential

to the greatest extent permitted by law. See Motion at par. B. The extent of the law does not

extend past section 107. Once the Diocese determined that it was necessary to seek declaratory

relief with respect to the Settlement Agreements, the Diocese may file the agreements with the

Court and there is no basis in the law to maintain their confidentiality.

        8.       The Diocese cannot point to any reason that they may be sealed under section

107. The Diocese’s sole reason to seek to file the documents under seal is an internal

requirement of the documents. Notably, courts will generally decline to file settlements under

seal on the sole basis that the terms of the agreement require filing under seal. See, e.g.,

Anthracite Capital, id. (citing In re Hemple, 295 B.R. 200, 202 (Bankr. D. Vt. 2003)(describing a




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ten factor test to determine whether settlements proposed under Fed.R.Bankr.P. 9019 may be

filed under seal)).1 Clearly, the law embodied in section 107 does not allow these documents to

be kept confidential if filed with the Court.

           9.      While there may have been a business reason to maintain the confidentiality of

the Settlement Agreements prior to commencement of the chapter 11 case, there is no reason to

do so after the bar date has passed. No individual can factor the terms of the agreement into a

decision to pursue claims against the Diocese. In fact, given that the Diocese is a debtor in a

chapter 11 case, the need for transparency is overwhelming and creditors should not be kept in

the dark where section 107, federal common law and public policy clearly provide that the

Settlement Agreements and the Insurance Pleading may not be filed under seal. As such, the

Court should deny the Motion.




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    The Hemple factors are:

1. the necessity of the settlement to the viability of the bankruptcy case;
2. whether the confidentiality provision is truly essential to the settlement, i.e., whether the settlement would be
withdrawn if the confidential provision were not honored;
3. whether the creditors have been notified of the request for approval of the settlement without disclosure of the
amount or terms of settlement, and, if so, whether any objection was interposed;
4. if there has been an objection to the request to file the agreement under seal, whether the objection demonstrates
harm to the public's need to know;
5. whether the creditors will clearly benefit from the settlement notwithstanding a lack of access to the specific terms
of that settlement;
6. whether the debtor will suffer irreparable harm if the settlement agreement is not filed under seal;
7. whether the parties would be able to keep the terms of the settlement confidential in the absence of a bankruptcy
filing;
8. whose interests are being protected by allowing the filing of the settlement agreement under seal and whether
there is any negative impact either on the estate or in the treatment of other interested parties in the case;
9. what is the likelihood of other parties actually obtaining the details of the agreement if it is not filed under seal;
and
10. whether the document needs to be kept under seal permanently or some shorter time period could suffice.

In re Hemple, id. The Hemple factors do not support sealing the documents at issue.


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                 WHEREFORE, the Committee requests that the Court deny the Motion and grant

such other and further relief as the Court deems just and proper.

 Dated: February 3, 2022                       Respectfully submitted,

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Pursuant to F.R.C.P. 5(b)(3), F.R.B.P. 9036 and NM LBR 9036-1(b), I hereby certify that service
of the foregoing was made on February 3, 2022 via the notice transmission facilities of the
Bankruptcy Court’s case management and electronic filing system.

/s/ Ilan D. Scharf
Ilan D. Scharf




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